                                         Case 4:20-cv-03664-YGR Document 504 Filed 03/18/22 Page 1 of 2




                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         CHASOM BROWN ET AL.                                  Case No.: 20-cv-3664-YGR
                                   4
                                                    Plaintiffs,                               ORDER GRANTING PLAINTIFFS’ MOTION
                                   5                                                          FOR LEAVE TO AMEND COMPLAINT
                                                  vs.
                                   6
                                         GOOGLE LLC,
                                   7
                                                    Defendant.                                Re: Dkt. No. 395
                                   8

                                   9          Pending before the Court is plaintiffs’ motion for leave to file a third amended complaint.

                                  10   (Dkt. No. 395.)1 Plaintiffs seek to amend their complaint to change their class definitions to cover

                                  11   additional Google products and services.

                                  12          Having carefully considered the pleadings and the papers submitted, and for the reasons set
Northern District of California
 United States District Court




                                  13   forth more fully below, the Court hereby GRANTS the motion for leave to amend.2

                                  14          The parties do not dispute the legal standard that governs this motion. Federal Rule of

                                  15   Civil Procedure 15(a) provides that a trial court should “freely give leave when justice so

                                  16   requires.” Generally speaking, the rule is “to be applied with extreme liberality.” Owens v. Kaiser

                                  17   Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001) (quoting Morongo Band of Mission

                                  18   Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990)). That said, “leave to amend is not to be

                                  19   granted automatically.” Jackson v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir. 1990).

                                  20          In deciding whether justice requires granting leave to amend, court weighs the following

                                  21   factors: (1) bad faith; (2) undue delay; (3) prejudice to the opposing party; (4) futility of the

                                  22   amendment; and (5) whether the movant has previously amended its pleadings to cure

                                  23   deficiencies, (“Foman factors”). See Foman v. Davis, 371 U.S. 178, 182 (1962); see also Johnson

                                  24

                                  25          1
                                                Both plaintiffs and Google filed administrative motions to seal (Dkt. Nos. 394 and 427)
                                  26   which the Court will address by separate order.
                                              2
                                  27              Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court
                                       finds this motion appropriate for decision without oral argument. Accordingly, the Court
                                  28   VACATES the motion hearing set for MARCH 22, 2022.
                                         Case 4:20-cv-03664-YGR Document 504 Filed 03/18/22 Page 2 of 2




                                   1   v. Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004). Of these factors, “the consideration of prejudice

                                   2   to the opposing party [ ] carries the greatest weight.” Eminence Capital, LLC v. Aspeon, Inc., 316

                                   3   F.3d 1048, 1052 (9th Cir. 2003). “Undue delay alone cannot serve as the basis for the denial of

                                   4   leave to amend.” In re Tracht Gut, LLC v. L.A. Cty. Treasurer & Tax Collector, 836 F.3d 1146,

                                   5   1155 n.4 (9th Cir. 2016).

                                   6          Google has not demonstrated any real prejudice based on the proposed amendment.

                                   7   Google’s prejudice arguments focus primarily on the alleged impact of discovery. For instance,

                                   8   Google argues that the proposed amendment would require it to produce additional documents and

                                   9   supplement its discovery responses. (Opp. at. 9.) However, given plaintiffs’ agreement not to seek

                                  10   any further or supplemental discovery on the basis of the amendment, the Court finds Google’s

                                  11   arguments unpersuasive.

                                  12          The Court also finds that plaintiffs did not delay in seeking leave to amend. Plaintiffs
Northern District of California
 United States District Court




                                  13   brought their motion shortly after the Court issued its order denying Google’s motion to dismiss.

                                  14   Nor has Google established that plaintiffs are bringing the amendment in bad faith, or that

                                  15   amendment would be futile.

                                  16          Accordingly, plaintiffs’ motion for leave to amend is GRANTED. However, given

                                  17   plaintiffs’ representations that amendment would not impact discovery in this case, plaintiffs may

                                  18   not rely on their newly revised class definitions to:

                                  19              •   Seek additional or supplemental 30(b)(6) testimony;

                                  20              •   Seek additional or supplemental document productions;

                                  21              •   Request that Google supplement any of its discovery responses; or

                                  22              •   Seek to extend any case deadlines.

                                  23          Plaintiffs Third Amended Complaint, filed with their motion for leave to amend, is now

                                  24   deemed filed. A response thereto shall be filed in fourteen (14) days from the date of this Order.

                                  25          This Order terminates Docket No. 395.

                                  26          IT IS SO ORDERED.

                                  27   Dated: March 18, 2022
                                                                                                    YVONNE GONZALEZ ROGERS
                                  28                                                           UNITED STATES DISTRICT COURT JUDGE
                                                                                          2
